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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                             :
GEORGE MOORE,                                :
                                             :
       Plaintiff,                            :     Case No. 1:19-cv-03480
                                             :
v.                                           :     Honorable Gary Feinerman
                                             :
STATE COLLECTION SERVICE, INC.,              :     Magistrate Judge Jeffrey T. Gilbert
                                             :
       Defendant.                            :
                                             :
                                             /

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff GEORGE MOORE, and Defendant STATE COLLECTION SERVICE, INC.,

by and through its undersigned attorneys, hereby stipulate to the dismissal of the Action with

prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party shall bear its own costs and

attorneys’ fees.



/s/ George Moore                                  /s/ Robbie Malone
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                                                  COUNSEL FOR DEFENDANT
                                                  STATE COLLECTION SERVICE, INC.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2019, I filed the foregoing Stipulation of Dismissal

with Prejudice with the Court’s CM/ECF system, which served the same on counsel of record.


                                             By: /s/ George Moore
                                                 George Moore
